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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                         *
                                                 *
        v.                                       *           CRIMINAL NO. LKG-22-007
                                                 *
MARILYN MOSBY,                                   *
                                                 *
               Defendant.                        *
                                              *******

                  GOVERNMENT’S REPLY MOTION FOR AN ORDER
                      PURSUANT TO LOCAL RULES 204 & 603

       The defendant’s response is wrong on the facts and wrong on the law.

       The facts are these: Defense counsel has repeatedly and flagrantly violated this Court’s

Local Rules governing attorney conduct since the day the Grand Jury returned an indictment in

this matter. Defense counsel’s claim that his recent use of profanity on the courthouse steps was

accidental rings hollow because counsel told the media – on those same courthouse steps – the

exact opposite, moments before entering the courthouse.

       As to the law: counsel fails to address that the proposed order is limited only to preventing

statements on the courthouse steps by attorneys, who are not subject to the same standards as other

individuals. Moreover, the order is a valid time, place, and manner restriction. Lastly, counsel

appears to advance the bewildering argument that the government cannot now move for an order

because it failed to prevent the press from covering the case. But such an order regarding the press

would be blatantly unconstitutional.

       This court should therefore impose a narrowly-tailored order prohibiting counsel from

making prejudicial statements to the media on the courthouse steps. This Court should not be used

as a prop for attempts to sway the jury and violate the Court’s own Local Rules.
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       1. Defense Counsel has Repeatedly and Flagrantly Violated Local Rule 204

       Local Rule 204 provides that:

       From the time of arrest; issuance of an arrest warrant or the filing of a complaint;
       information, or indictment in any criminal matter until the commencement of trial
       or disposition without trial, a lawyer associated with the prosecution or defense
       shall not release or authorize the release, for dissemination by any means of public
       communication, of any extra-judicial statement concerning
       ...

       d. The identity, testimony, or credibility of prospective witnesses, except that the
       lawyer may announce the identity of the victim if the announcement is
       not otherwise prohibited by law;

       e. The possibility of a plea of guilty to the offense charged or a lesser
       offense;

       f. Any opinion as to the accused’s guilt or innocence or as to the merits of
       the case or the evidence in the case.

Local Rule 204 provides an exception for: “quoting or referring without comment to public court

records in the case; from announcing the scheduling or result of any stage in the judicial process;

from requesting assistance in obtaining evidence; or from announcing without further comment

that the accused denies the charges which have been made.” (emphasis added).

       On January 13, 2022, the Grand Jury returned an indictment in this case. That same day,

defense counsel sent a public statement to various news media outlets claiming that the “these

bogus charges . . . are rooted in personal, political, and racial animus.” See WBAL, Baltimore

Prosecutor Marilyn Mosby Federally Indicted on Perjury, False Mortgage Application Charges,

January    13,   2022,   available   at   https://www.wbaltv.com/article/marilyn-mosby-indicted-

baltimore/36901609#. Counsel continued, “You would only conduct a criminal investigation in

that manner, if you were not interested in the truth or exculpatory evidence or justice, but rather

only concerned with obtaining an indictment and bringing false charges against my client – at all

or any costs.” Id.

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       On January 17, 2022, defense counsel called a press conference in which he declared that

the defendant had been charged “four months before her re-election campaign to affect, and in

effect, the result of that campaign. Let’s not be confused about it. Let’s not be confused about it.”

See WBAL-TV, LIVE: Mosby Attorney A. Scott Bolden Provides Update on Federal Indictment,

Jan. 17, 2022, available at https://www.youtube.com/watch?v=9dj44BgXj04. Counsel went on to

discuss alleged “animus” motivating the prosecution and attacked a prosecutor repeatedly by

name. Id. Then Defense counsel characterized the investigation and steps that had been taken. Id.

He described his communications with the Department of Justice. He stated, “we have exculpatory

evidence, that we wanted to share with them, we did share with them . . . but when you’re not

interested in justice, and fairness, and equity, you don’t take those meetings.” Id. These comments

– and many others made during the 19 minute press conference – flagrantly violated Local Rule

204, going well beyond “quoting or referring without comment to public court records in the case;

from announcing the scheduling or result of any stage in the judicial process; from requesting

assistance in obtaining evidence; or from announcing without further comment that the accused

denies the charges which have been made.”

       That same evening, defense counsel gave a live video interview. This time he alleged that

the defendant “had business if you will, and so those business were in the travel space, and they

were affected by [Covid-19], and her accountant urged her to take that money.” Roland Martin,

‘We’re Ready For This Fight’! Mosby Attorney Blasts Feds for Indictment.” Defense counsel

again argued that the case was driven by political and racial animus. Id.

       The next day, January 14, 2022, defense counsel gave a live radio interview stating,

““there's personal, political and even racial animus that drives this investigation.” WYPR, Marilyn

Mosby Says She’s Innocent, Will Vigorously Fight Federal Charges, January 14, 2022, available



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at         https://www.wypr.org/wypr-news/2022-01-14/marilyn-mosby-says-shes-innocent-will-

vigorously-fight-federal-charges.

       On February 1, 2022, defense counsel went on national television to declare: “when you

bring an indictment four months before an election, when you don`t sit down with the defense and

tell them what you`re looking for and what you`re looking at before you bring the indictment,

you`re not trying to find justice or truth. You`re trying to affect the outcome of her reelection

effort. When you have a prosecutor like Leo Wise, who targets, historically, African-American

elected officials, who gave two contributions, probably the only contributions he`s ever given, to

her opponents in her last election, and he leads this prosecution, it should have been a criminal --

it started off as a criminal tax investigation.” Joy Reid, MSNC The Reidout, February 1, 2022.

       On April 14, 2022, on the steps of the courthouse, after this Court denied his motion to

dismiss for animus, defense counsel nevertheless falsely declared to the press on the courthouse

steps that the actions taken by prosecutors in the case were “problematic.” Mikenzie Frost and

Tom Swift, Judge Rejects Marilyn Mosby’s Claims of Vindictive Prosecution; Trial to Go

Forward,    WBFF,      April   14,   2022,   available    at https://nbcmontana.com/news/nation-

world/federal-judge-rejects-baltimore-city-state-attorney-marilyn-mosbys-claims-of-vindictive-

prosecution-trial-to-go-forward-district-judge-lydia-kay-griggsby.

       And as discussed in previous filings, immediately following this Court’s hearing on

September 14, 2022, defense counsel – after misstating the underlying facts of the Court’s ruling

and the government’s arguments about the need for a rebuttal expert– declared: “Now on the eve

of trial, [the government] report[s] to the court on the record that they're gonna use experts . . . it

was all bullshit" and offered a “warning” to federal and state employees: “ If you're in the federal

government, you're in the state government, you're an African-American politician working for



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the government, you are at risk because of the U.S. Attorney's Office for the City of Baltimore

[sic]." 9/14 Press Conference, at 2:28.

       Each of these statements taken alone constitute a clear violation of Local Rule 204. Taken

together, they show a consistent pattern: defense counsel has violated the Local Rules in an attempt

to bias the jury pool, and has used the courthouse steps to do so. Defense counsel speaks about the

“flood tide of news coverage” in this case, ECF 125, at 6. But if there is any reason for this flood

tide among the parties, it is not the government, which has scrupulously and completely adhered

to the Local Rules. The driving force is defense counsel, who has flouted the Local Rules at every

turn, and on more than one occasion used the courthouse steps to do so.

       2. Defense Counsel Said One Thing to the Court and Another to the Press

       Although defense counsel now characterizes his use of profanity on the steps of the

courthouse as an “anomalous word choice,” and claims that he has “already apologized” to the

Court for his language that day, that is not the full story. See, ECF 125, at 4. While defense counsel

did apologize to this Court on September 15, 2022, for his remarks, he said exactly the opposite to

the media moments before as he walked in the courthouse on that very same day:

               Reporter: Mr. Bolden, Should you be able to talk to the press whenever you want?
               Counsel: Yes
               Reporter: “Do you regret saying anything yesterday?”
               Counsel: No.
               ...
               Counsel: Everything I said out here to you all, I said in Court.

See CBS Baltimore, Marilyn Mosby’s Trial Delayed to March; Feds Push for Gag Order, available

at https://www.cbsnews.com/baltimore/video/marilyn-mosbys-trial-delayed-to-march-feds-push-

for-gag-order/#x (0:55; 1:20). Counsel claims regret before this Court, but he showed none before

the cameras outside.




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          3. Restrictions on Party Counsels’ Statements Are Constitutional and Ordered by
             the Local Rules

          Defense counsel appears to implicitly argue that Local Rule 204, prohibiting the types of

statements he has been continually making for almost a year, is unconstitutional. See ECF 125, at

3-5. That is incorrect. The rule applies to all “lawyer’[s] associated with the prosecution or

defense.” LCrR. 204.3. Such rules – governing the conduct of lawyers who are held to a higher

ethical and professional standard than others who are not officers of the Court – are expressly

addressed and excluded from the Murphy-Brown Court’s analysis which defendant cites. See In

re: Murphy-Brown, LLC, 907 F. 3d 788, 797 (“While respondents here attempt to analogize the

gag order’s restrictions to the rules of professional ethics (and the arguably less demanding

standards applied to them), see Gentile v. State Bar of Nevada, 501 U.S. 1030, (1991), this

particular order extended far beyond the legal profession.”).

          Indeed, the Supreme Court in Gentile addressed situations precisely like the ten-month

press barrage carried out by defense counsel in violation of Local Rule 204, declaring that, “[t]he

outcome of a criminal trial is to be decided by impartial jurors, who know as little as possible of

the case, based on material admitted into evidence before them in a court proceeding. Extrajudicial

comments on, or discussion of, evidence which might never be admitted at trial and ex parte

statements by counsel giving their version of the facts obviously threaten to undermine this basic

tenet.” Gentile v. State Bar of Nevada, 401 U.S. 1030, 1072 (1991) (emphasis added). Defense

counsel never addresses the Gentile standard, because he cannot. Courts throughout the country

– including defense counsel’s home federal court in the District of Columbia – have Local Rules

that mirror this Court’s,1 and for good reason: “Because lawyers have special access to information




1
    See, e.g., LCrR 57.7(b) (DDC); LCrR 57.1(C) (EDVA); LCrR 32.1 (SDNY); LCrR 53.1 (EDPA)

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through discovery and client communications, their extrajudicial statements pose a threat to the

fairness of a pending proceedings.” Gentile, 510 U.S. at 1076 (1991).

        Thus, the government seeks that counsel be ordered to comply with the Local Rules when

he is present on the courthouse steps. Counsel should already be complying with the Local Rules,

but his continued violations make clear that a Court order is necessary to mandate even the most

basic compliance when present on Court property.

        4. Restrictions on Counsels’ Statements on the Courthouse Steps Are a Valid Time,
           Place, and Manner Restriction

        The federal courthouse is not a prop for attempts to sway the jury pool. This Court has a

particular “interest in maintaining suitable decorum in the area of a courthouse” and “interest in

preserving public confidence in the integrity of the judicial process”). Hodge v. Talkin, 799 F.3d

1145, 1163-64 (D.C. Cir. 2015). Conferences on the courthouse steps, used as a backdrop for

inflammatory rhetoric, are an attempt to use the courthouse to legitimate the arguments of one

side.

        Even putting aside the voluminous law regarding attorney conduct discussed in

government’s initial motion and above, a restriction on statements to the press on the courthouse

steps is not subject to strict scrutiny, as defense counsel contends, but rather at most only to

intermediate scrutiny as a time, place, and manner restriction. See, e.g., Ross v. Early, 746 F.3d

546, 5512 (4th Cir. 2014).

        In simpler terms, the order sought by the government seeks only to order all counsel “when

they are entering or exiting the courthouse, or they are within the immediate vicinity of the

courthouse, from making statements to the media or to the public that pose a substantial likelihood

of material prejudice to this case or are intended to influence any juror, potential juror, judge,




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witness or court officer or interfere with the administration of justice.” See ECF 124, Att. A, at 2.

In other words, counsel can talk to the press, just not on the courthouse steps.2

        5. In the United States of America, the Government Does Not Restrain the Press

        Defense counsel argues that the Government has engaged in a “yearlong acquiescence in

the relentless negative press coverage of State’s Attorney Mosby.” ECF 125, at 2. But the

government has done no such thing. The government has complied with the Local Rules

scrupulously. It is not the government’s job to decide if a defendant receives positive or negative

press; it is the government’s job to seek justice—which it has done consistently throughout this

case.

        Perplexingly, counsel for the defendant appears to argue that the Government cannot seek

an order from this Court now because it failed to restrain the press for the past year. See, e.g.,

ECF 125, at 5 (“Moreover, the proposed gag order here is not narrowly tailored to eliminate the

source of the animus toward State’s Attorney Mosby at all; i.e., the relentless negative news

coverage of every event in this case—including this very motion. Nor does the Government have

any incentive to seek such a narrowly tailored gag order, because doing so would require the

government to forego the press coverage that favors its side.”); Id. at 6-7 (stating that the

Government “acquiesced” in press coverage that was “consistent with the Government’s own

views of this case”; and arguing that the Government “allowed hundreds of news articles and social

media posts to pile up and foment animus.”).

        In the United States of America, the government does not dictate what the press may

publish. See New York Times v. Sullivan, 403 U.S. 713 (1971). In the United States of America,

the government does not “allow” news articles and social media posts. Cf. ECF 125, at 7 (the


2
 The present proposed order would not change the fact that counsel would still be subject to the Local Rules in any
offsite press event.

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government “waited, and by doing so, allowed hundreds of news articles) with Sullivan, 403 U.S.

at 717 (Black, J. concurring) (“In the First Amendment the Founding Fathers gave the free press

the protection it must have to fulfill its essential role in our democracy. The press was to serve the

governed, not the governors. The government's power to censor the press was abolished so that

the press would remain forever free to censure the government.”). Defense counsel’s suggestion

that the government should have moved to gag the free press is as nonsensical as it is

unconstitutional.

                                          CONCLUSION

       Since the day this case was indicated, defense counsel has engaged in a media barrage in

direct contradiction of Local Rule 204. This media barrage culminated in a press conference on

the court steps (not the first by defense counsel), where he declared that government arguments

were “bullshit” and delivered an extended harangue against about case. The next day, in the same

spot, he told the press that he regretted nothing that he said the day before.

       In order to protect due process and the dignity of the Court, this Court should order all

counsel to cease giving press conferences on the courthouse steps.


                                               Respectfully submitted,

                                               Erek L. Barron
                                               United States Attorney


                                        By:    _______/s/_____________________
                                               Leo J. Wise
                                               Sean R. Delaney
                                               Aaron S.J. Zelinsky
                                               Assistant United States Attorneys




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                               CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on this day, a copy of the foregoing motion was electronically

filed via CM/ECF which provides notice to counsel of record.


                                           ___________/s/_______________
                                           Aaron S.J. Zelinsky
                                           Assistant United States Attorney




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